 USCA11 Case: 22-14058           Document: 41-2         Date Filed: 01/23/2025      Page: 1 of 2


                          UNITED STATES COURT OF APPEALS
                             FOR THE ELEVENTH CIRCUIT
                             ELBERT PARR TUTTLE COURT OF APPEALS BUILDING
                                           56 Forsyth Street, N.W.
                                           Atlanta, Georgia 30303

David J. Smith                                                                     For rules and forms visit
Clerk of Court                                                                     www.ca11.uscourts.gov


                                         January 23, 2025

MEMORANDUM TO COUNSEL OR PARTIES

Appeal Number: 22-14058-CC
Case Style: USA v. Isac Schwarzbaum
District Court Docket No: 9:18-cv-81147-BB

Opinion Issued
Enclosed is a copy of the Court's decision issued today in this case. Judgment has been entered
today pursuant to FRAP 36. The Court's mandate will issue at a later date pursuant to FRAP
41(b).

Petitions for Rehearing
The time for filing a petition for panel rehearing or rehearing en banc is governed by 11th Cir.
R. 40-2. Please see FRAP 40 and the accompanying circuit rules for information concerning
petitions for rehearing. Among other things, a petition for rehearing must include a
Certificate of Interested Persons. See 11th Cir. R. 40-3.

Costs
No costs are taxed.

Bill of Costs
If costs are taxed, please use the most recent version of the Bill of Costs form available on the
Court's website at www.ca11.uscourts.gov. For more information regarding costs, see FRAP 39
and 11th Cir. R. 39-1.

Attorney's Fees
The time to file and required documentation for an application for attorney's fees and any
objection to the application are governed by 11th Cir. R. 39-2 and 39-3.

Appointed Counsel
Counsel appointed under the Criminal Justice Act (CJA) must submit a voucher claiming
compensation via the eVoucher system no later than 45 days after issuance of the mandate or
the filing of a petition for writ of certiorari. Please contact the CJA Team at (404) 335-6167 or
cja_evoucher@ca11.uscourts.gov for questions regarding CJA vouchers or the eVoucher
system.
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Clerk's Office Phone Numbers
General Information: 404-335-6100   Attorney Admissions:         404-335-6122
Case Administration: 404-335-6135   Capital Cases:               404-335-6200
CM/ECF Help Desk: 404-335-6125      Cases Set for Oral Argument: 404-335-6141



                                                    OPIN-1 Ntc of Issuance of Opinion
